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| FILED

JUN 27 1884

THE PAbcL
DOCKET NO. 603 CLERK OF THE F

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION
IN RE SEALASKA CORPORATION CONTRACT LITIGATION
ORDER DENYING MOTION AS MOOT

On June 5, 1984, Sealaska Corporation moved the Panel,
pursuant to 28 U.S.C. §1407, for an order to transfer an action
pending in the District of Alaska to the Western District of
Washington for coordinated or consolidated pretrial proceedings
with the two actions pending there. On June 13, 1984, the Alaska
action was remanded to Alaska state court.

IT IS THEREFORE ORDERED that the motion pursuant to 28 U.S.C.
§1407 for centralization of the actions listed on the attached
Schedule A be, and the same hereby is, DENIED as moot.

For the Panel:

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CtadAnmes G. (
Andrew A. Caffe or

Chairman
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SCHEDULE A

In re Sealaska Corporation Contract Litigation

District of Alaska

 

Sealaska Corp., et al. v. R. Michael Crowson, et al.,
C.A. No. J84-012

Western District of Washington

Seattle-First National Bank v. Sealaska Corp., et al.,
C.A. No. CS3-350V

Seattie-First National Bank v. Sealaska Corp., et al.,
C.A. No. C83-1316V
